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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 LEXINGTON DIVISION
                                 CASE NO. : 06- 243- JMH


 West Hills Farms , LLC                                                              PLAINTIFFS
 Arbor Farms , LLC , and
 Nelson Breeders , LLC




 ClassicStar , LLC                                                                DEFENDANTS
 ClassicStar Farms , LLC
 National Equine Lending Co. , LLC
 Geostar Corp.
 Tony Ferguson
 David Plummer
 and
 John Does 1-


           PLAINTIFFS' MOTION FOR LEAVE TO CONDUCT EXPEDITED
       DISCOVERY AND FOR PROTECTIVE ORDER TO PRESERVE EVIDENCE


        Plaintiffs West Hills Farms , LLC ,    Arbor Farms ,   LLC ,   and Nelson Breeders ,   LLC

 respectfully request the Court grant their Motion for Leave to Conduct Expedited Discovery and

 for Protective Order to Preserve Evidence. The basis for this

 forth in more                           ' Memorandum

 contemporaneously herewith.

        ClassicStar , LLC has indicated that it intends to liquidate its

 the upcoming Fasig- Tipton sales on November 5 ,     2006.
 whether these assets to be liquidated were purchased with money obtained from Plaintiffs as a

 result of the misrepresentations by ClassicStar , or whether these assets to be liquidated

 the thoroughbred foals that
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 obtained for their $56 Million purchase of Mare Lease Program interests from ClassicStar , or

 whether these assets to be liquidated include the other equine interests which Plaintiffs may have

 unwittingly purchased from ClassicStar , which are all the subject of the claims in the Complaint.

 Moreover , given the breadth of the fraud perpetrated by the

 which is now under investigation by the United States Attorney, it is likely that Defendants will

 continue to dissipate the funds they obtained through the ClassicStar fraud from the reach of the

 Plaintiffs; indeed , while

 GeoStar s Canadian and                        , Plaintiffs


 Defendants have utilized the

 fictitious breeding assets they sold under the Mare Lease Programs at issue in this case.

         Accordingly, Plaintiffs request that the Court permit Plaintiffs , before a Fed. R. Civ. P.

 26(f) meet and confer conference    , to
 attached Exhibit A; Plaintiffs request that ClassicStar be required to respond to such requests by

 no later than October 10 , 2006; Plaintiffs request that designees of both ClassicStar entities with

 most knowledge of the 2004 operations of the ClassicStar Mare Lease Programs and a designee

 of GeoStar Corp. be required to appear for deposition during the week of October 21 , 2006 on

 the 30 (b)(6) designations set forth in the attached Exhibit B; and Plaintiffs further request that

 they be permitted to serve the subpoenas

 known to be in                              s financial documents. Only through this relief

 Plaintiffs be in a                                                                   , beyond that

 sought in the Motion for                                                                      , that

 will effectively freeze the stolen funds and prevent Defendants from removing same beyond this

 Court' s reach.
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        Plaintiffs also move the Court to grant a Protective Order , Exhibit D , preserving evidence

 in this matter to ensure that Defendants do not

 paper records relevant to this litigation in their possession.

         Separate Proposed Orders granting leave to conduct expedited discovery and entering a

 Protective Order to preserve evidence are submitted herewith.




                                                         Respectfully submitted


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                                                      CERTIFICA TE OF SERVICE

             I hereby certify that on this the 28th day of September , 2006 ,             I electronically filed the


 foregoing with the clerk of the court by using the                 CMlECF    system , which will send a notice of

 electronic filing to the following:

                                     David A. Owen , Esq.
                                     Brian M. Johnson , Esq.
                                     James R. Wooley, Esq.
                                     Steven M. Dettelbach , Esq.
                                     Jeffrey H. Paravano , Esq.

             I further certify that on this same date I mailed the foregoing document and the notice of

 electronic filing by first class mail to the following non- CMlECF participants:

 David A. Owen , Esq.                                              James R. Wooley, Esq.
 Brian M. Johnson , Esq.                                           Steven M. Dettelbach , Esq.
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